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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SCOTTSDALE INSURANCE COMPANY,                                      )
                                                                   )
        Plaintiff,                                                 )
                                                                   )
        vs.                                                        )       Case No.
                                                                   )
McINERNEY BUILDERS INC.,                                           )
                                                                   )
        Defendant,                                                 )
                                                                   )
CHUBB NATIONAL INSURANCE COMPANY a/s/o                             )
Caryl Dillon, CARYL DILLON,                                        )
                                                                   )
        Necessary Parties, and                                     )
                                                                   )
PEKIN INSURANCE COMPANY                                            )
                                                                   )
        Potentially Interested Party                               )

                       COMPLAINT FOR DECLARATORY JUDGMENT

        Plaintiff, SCOTTSDALE INSURANCE COMPANY (“Scottsdale”), by and through its

undersigned attorneys, brings this Complaint for Declaratory Judgment against Defendant,

McINERNEY BUILDERS INC. (“McInerney”), along with CHUBB NATIONAL INSURANCE

COMPANY a/s/o Caryl Dillon (“Chubb”), CARYL DILLON (“Ms. Dillon”) as necessary parties,

and PEKIN INSURANCE COMPANY (“Pekin”) as a potentially interested parties, and alleges and

states as follows:

                                   STATEMENT OF THE CASE

        1.       Scottsdale brings this insurance coverage action to obtain a declaratory judgment

finding that it has no duty to defend or indemnify McInerney in connection with construction defect

claims asserted against McInerney in the following two lawsuits currently pending in the Circuit Court

of Cook County, Illinois: lawsuit captioned Caryl Dillon v. McInerney Builders, Inc., et al., Cause No. 2021-

L-004561 (“Ms. Dillon’s Lawsuit”); and lawsuit captioned Chubb National Insurance Company a/s/o of

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Caryl Dillon v. McInerney Builders, Inc., et al., Cause No. 2021-L-009117 (“Chubb’s Lawsuit”). Ms. Dillon’s

Lawsuit and Chubb’s Lawsuit are collectively referred to herein as “the Underlying Lawsuits”.

                                  JURISDICTION AND VENUE

        2.      Plaintiff Scottsdale is a corporation organized under the laws of Ohio with its principal

place of business in Scottsdale, Arizona.

        3.      Defendant McInerney is a corporation organized under the laws of Illinois. It has a

principal place of business in Chicago, Illinois.

        4.      Chubb is a corporation organized under the laws of Indiana, with its principal place of

business in either Indianapolis, Indiana or Warren, New Jersey. Scottsdale does not seek any

declaratory relief or any other recovery directly against Chubb in this action. Nevertheless, Chubb is

named as a necessary party to the judicial declarations requested in Count I through Count VI because

it may have an interest in the outcome of the judicial declarations by virtue of its status as the plaintiff

in Chubb’s Lawsuit. Pursuant to Rule 19 of the Federal Rules of Civil Procedure, Scottsdale names

Chubb as a necessary party so that it may be bound by the judgment entered in this case. If Chubb

executes a stipulation agreeing to be bound by any judgement herein, Scottsdale will voluntarily dismiss

Chubb from this action.

        5.      Ms. Dillon is an individual domiciled in Chicago, Illinois. Scottsdale does not seek any

declaratory relief or any other recovery directly against Ms. Dillon in this action. Nevertheless, Ms.

Dillon is named as a necessary party to the judicial declarations requested in Count I through Count

VI because she may have an interest in the outcome of the judicial declarations by virtue of her status

as the plaintiff in Ms. Dillon’s Lawsuit. Pursuant to Rule 19 of the Federal Rules of Civil Procedure,

Scottsdale names Ms. Dillon as a necessary party so that she may be bound by the judgment entered

in this case. If Ms. Dillon executes a stipulation agreeing to be bound by any judgement herein,

Scottsdale will voluntarily dismiss Ms. Dillon from this action.


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        6.      Pekin is a corporation organized under the laws of Illinois with its principal place of

business in Pekin, Illinois. Scottsdale does not seek any declaratory relief or any other recovery directly

against Pekin in this action. Nevertheless, Pekin is named as a party potentially interested in the judicial

declaration requested in Count VII by virtue of its status, based on information and belief, as another

insurer that is currently providing a defense to McInerney in Chubb’s Lawsuit and/or Ms. Dillon’s

Lawsuit. Pursuant to Rule 19 of the Federal Rules of Civil Procedure, Scottsdale names Pekin as a

necessary party so that it may be bound by the judgment entered in this case. If Pekin executes a

stipulation agreeing to be bound by any judgement herein, Scottsdale will voluntarily dismiss Pekin

from this action.

        7.      Jurisdiction in this matter is based upon diversity of citizenship pursuant to 28 U.S.C.

§ 1332(a)(1). Specifically, diversity jurisdiction exists because: (a) there is complete diversity of

citizenship between Plaintiff, Scottsdale, on the one hand, and Defendants, McInerney, Chubb, Ms.

Dillon and Pekin, on the other hand; and (b) the amount in controversy, including the potential costs

of defending and indemnifying McInerney with regard to the Underlying Lawsuits well exceeds

$75,000.

        8.      Venue is appropriate under 28 U.S.C. § 1391(b)(2), because McInerney is a resident of

Illinois and Scottsdale’s liability insurance policies were delivered to McInerney in Illinois. Moreover,

a substantial part of the events or omissions giving rise to the Underlying Lawsuits occurred in this

District; i.e., the construction project and real estate that is the subject of the Underlying Lawsuits is

located in Chicago Illinois, and the Underlying Lawsuits are both pending in Illinois.

        9.      An actual justiciable controversy exists between Scottsdale, on the one hand, and

McInerney, on the other hand, and by the terms and provisions of Rule 57 of the Federal Rules of

Civil Procedure and 28 U.S.C. §§ 2201 and 2202, this Court is vested with the power to declare the

rights and liabilities of the parties and to grant such relief as it deems necessary and proper.


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        10.     The Underlying Lawsuits only address allegations of construction defect against

McInerney. The Underlying Lawsuits do not address any of the insurance coverage issues and disputes

between Scottsdale and McInerney that are present in this litigation.

                                     SCOTTSDALE’S POLICIES

        11.     Scottsdale issued to McInerney the following commercial general liability policies:

                          Policy No.                                      Policy Effective Dates
                         CPS2214951                                       5/5/2015 – 5/5/2016
                         CPS2402246                                       5/5/2016 – 5/5/2017
                         CPS2659300                                       5/5/2017 – 5/5/2018
                         CPS3053981                                       5/5/2018 – 5/5/2019
                         CPS3169469                                       5/5/2019 – 5/5/2020
                         CPS7107489                                       5/5/2020 – 5/5/2021

        12.     A true and complete copy of Scottsdale’s 2015-2016 Policy is attached hereto and

incorporated herein as Exhibit A. Complete copies of Scottsdale’s other policies issued to McInerney

will be produced in Scottdale’s Rule 26(a) Initial Disclosures.

        13.     Scottsdale’s 2015-2016 Policy and all of Scottsdale’s subsequent policies issued to

McInerney contain a Commercial General Liability Coverage Form CG 00 01 04 13, which contains

the following relevant Insuring Agreement for Coverage A – Bodily Injury and Property Damage

Liability:

        1.      Insuring Agreement

                a.      We will pay those sums that the insured becomes legally obligated to pay as
                        damages because of “bodily injury” or “property damage” to which this insurance
                        applies. We will have the right and duty to defend the insured against any “suit”
                        seeking those damages. However, we will have no duty to defend the insured
                        against any “suit” seeking damages for “bodily injury” or “property damage” to
                        which this insurance does not apply. …

                                                ***

                b.      This insurance applies to “bodily injury” and “property damage” only if:

                        (1)      The “bodily injury” or “property damage is caused by an “occurrence”
                                 that takes place in the “coverage territory”;

                        (2)      The “bodily injury or “property damage” occurs during the policy
                                 period…


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         14.     The Commercial General Liability Coverage Form CG 00 01 04 13 in Scottsdale’s

 2015-2016 Policy and all of Scottsdale’s subsequent policies issued to McInerney contains the

 following relevant exclusions:

         2.      Exclusions

                 This insurance does not apply to:

                 a.      Expected Or Intended Injury

                         “Bodily injury” or “property damage” expected or intended from the standpoint
                         of the insured.

                 b.      Contractual Liability

                         “Bodily injury” or “property damage” for which the insured is obligated to pay
                         damages by reason of the assumption of liability in a contract or agreement. This
                         exclusion does not apply to liability for damages:

                         (1)      That the insured would have in the absence of the contract or agreement;
                                  …
                                                 ***

                 k.      Damage To Your Product

                         “Property damage” to “your product” arising out of it or any part of it.

                 l.      Damage To Your Work

                         “Property damage” to “your work” arising out of it or any part of it and included
                         in the “products-completed operations hazard”.

                         This exclusion does not apply if the damaged work or the work out of which the
                         damage arises was performed on your behalf by a subcontractor.

                                                     ***

         15.     The Commercial General Liability Coverage Form CG 00 01 04 13 in Scottsdale’s

2015-2016 Policy and all of Scottsdale’s subsequent policies issued to McInerney contains the following

relevant definitions:

         SECTION V – DEFINITIONS

                                                     ***

         13.     “Occurrence” means an accident, including continuous or repeated exposure to
                 substantially the same general harmful conditions.

                                                     ***


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        17.     “Property damage” means:

                a.      Physical injury to tangible property, including all resulting loss of use of that
                        property. All such loss of use shall be deemed to occur at the time of the physical
                        injury that caused it.

                b.      Loss of use of tangible property that is not physically injured. All such loss of
                        use shall be deemed to occur at the time of the “occurrence” that caused it.

                                                  ***

        21.     “Your product”:

                a.      Means:

                        (1)       Any goods or products, other than real property, manufactured, sold,
                                  handled, distributed or disposed of by:

                                  (a)      You;

                                                  ***

                b.      Includes:

                        (1)       Warranties or representations made at any time with respect to the
                                  fitness, quality, durability, performance or use of “your product”; and

                        (2)       The providing of or failure to provide warnings or instructions.

                                                  ***

        22.     “Your work”:

                a.      Means:

                        (1)       Work or operations performed by you or on your behalf; and

                        (2)       Materials, parts or equipment furnished in connection with such work or
                                  operations.

                b.      Includes:

                        (1)       Warranties or representations made at any time with respect to the
                                  fitness, quality, durability, performance or use of “your work”; and

                        (2)       The providing of or failure to provide warnings or instructions.

                                                  ***

        16.     Scottsdale’s 2015-2016 Policy and all of Scottsdale’s subsequent policies issued to

McInerney also include an endorsement titled FUNGI OR BACTERIAL EXCLUSION (CG 21 67

12 04), which states in relevant part:


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       A.      The following exclusion is added to Paragraph 2. Exclusions of Section I – Coverage A
               – Bodily Injury and Property Damage Liability:

               2.       Exclusions

                        This insurance does not apply to:

                        Fungi Or Bacteria

                        a.         “Bodily injury” or “property damage” which would not have occurred,
                                  in whole or in part, but for the actual, alleged or threatened inhalation of,
                                  ingestion of, contact with, exposure to, existence of, or presence of, any
                                  “fungi” or bacteria on or within a building or structure, including its
                                  contents, regardless of whether any other cause, event, material or
                                  product contributed concurrently or in any sequence to such injury or
                                  damage.

                        b.        Any loss, cost or expense arising out of the abating, testing for,
                                  monitoring, cleaning up, removing, containing, treating, detoxifying,
                                  neutralizing, remediating or disposing of, or in any way responding to,
                                  or assessing the effects of, “fungi” or bacteria, by any insured or by any
                                  other person or entity.

                                                  ***

       C.      The following definition is added to the Definitions Section:

               “Fungi” means any type or form of fungus, including mold or mildew and any
               mycotoxins, spores, scents or byproducts produced or released by fungi.


       17.     Scottsdale’s 2015-2016 Policy and all of Scottsdale’s subsequent policies issued to

McInerney also include an endorsement entitled CONTINUING OR ONGOING DAMAGE

EXCLUSION (GLS-281s (9-07)), which states in relevant part:

       The following is added to subsection 2. Exclusions of SECTION I—COVERAGE:
       This insurance does not apply to “property damage” when any of the following apply:

       Continuing Or Ongoing Damage

       1.      The “property damage” first occurred, began to occur or is alleged to have occurred or been
               in the process of occurring, to any degree, in whole or in part, prior to the inception date of
               this policy.

       2.      The “property damage” is indiscernible from other damage that is incremental, continuous
               or progressive damage arising from an “occurrence” which first occurred, began to occur
               or is alleged to have occurred, to any degree, in whole or in part, prior to the inception date
               of this policy.




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         18.        Scottsdale’s 2015-2016 Policy and all of Scottsdale’s subsequent policies issued to

McInerney also include an endorsement entitled AMENDEMENT TO OTHER INSURANCE

CONDITION ENDORSEMENT (GLS-152s (4-14) or GLS-152 (8-16)), which reads in relevant

part:

         Condition 4. Other Insurance of Section IV – Commercial General Liability Conditions is
         deleted in its entirety and is replaced by the following:

         4.    Other Insurance

               a.   Primary Insurance

                    This insurance is primary except when b. below applies

               b.   Excess Insurance

                    (1) This insurance is excess over any other insurance, whether primary, excess, contingent
                        or on any other basis:

                        *    *   *

                        (e) That is valid and collectible insurance available to you under any other policy.

                    (2) When this insurance is excess, we will have no duty under Coverages A or B to defend
                        the insured against any “suite” if any other insurer has a duty to defend the insured
                        against that “suit.” If no other insurer defends, we will undertake to do so, but we will
                        be entitled to the insured’s rights against all those other insurers.

                    (3) When this insurance is excess over other insurance, we will pay only the amount of
                        the loss, if any, that exceeds the sum of:

                        (a) The total amount that all such other insurance would pay for the loss in the
                            absence of this insurance; and

                        (b) The total of all deductible and self-insured amounts under all other insurance.

                    If a loss occurs involving two or more policies, each of which states that its insurance will
                    be excess, then our policy will contribute on a pro rata basis.


         19.        Scottsdale’s 2018-2019 Policy and its 2019-2020 Policy issued to McInerney include

an additional endorsement entitled EXCLUSION – CONTRACTORS AND SUBCONTRACTORS

(GLS-100s (6-13)), which reads in relevant part:

         The following exclusion is added to SECTION I—COVERAGES, COVERAGE A. BODILY INJURY
         AND PROPERTY DAMAGE LIABILITY … paragraph 2. Exclusions:




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       This insurance does not apply to “bodily injury” [or] “property damage” … arising out of or
       caused by, in whole or in part:

       a.       Operations performed for or on behalf of any insured by any contractors or
                subcontractors;

       b.       Acts or omissions of any contractor or subcontractor in connection with a. above; or

       c.       The negligent:

                (1) Hiring;
                (2) Investigation;
                (3) Supervision;
                (4) Training; or
                (5) Retention

       of any contractor or subcontractor for whom any insured is or ever was legally responsible and
       whose operations, acts or omissions would be excluded by a. or b. above.

       This exclusion applies to all sums you become legally obligated to pay that arise out of any claims
       or “suits” by any person or organization for “bodily injury” [or] “property damage” … and/or any
       obligation to share damages with or repay someone else who must pay damages because of the
       “bodily injury” [or] “property damage” ….

       We will have no duty to settle any claim or defend any “suit” against the insured arising out of or in
       any way related to a. b. or c. above.


                 ALLEGATIONS ASSERTED IN UNDERLYING LAWSUITS

       20.      Ms. Dillon filed her Complaint on May 4, 2021. A true and correct copy of Ms. Dillon’s

Complaint is attached hereto and incorporated herein as Exhibit B.

       21.      Chubb filed its Complaint as a subrogee of Ms. Dillon on September 13, 2021. A true

and correct copy of Chubb’s Complaint is attached hereto and incorporated herein as Exhibit C.

       22.      In the Underlying Lawsuits, Ms. Dillon and Chubb both generally allege the following

allegations regarding the construction of Ms. Dillon’s condominium unit:

             a. In or about April 2012, McInerney obtained a permit to begin construction of a three-

                unit residential condominium building at 1350 West Diversey Parkway, Chicago,

                Illinois 60614 (the “Building”). (See, Ms. Dillon’s Complaint, Exhibit B, ¶17; Chubb’s

                Complaint, Exhibit C, ¶11).




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             b. McInerney began marketing of the Building condominium units for sale to the general

                public in April 2012 and on or about December 7, 2012, Ms. Dillon and McInerney

                entered into a written contract for her purchase of the top unit in the three-unit

                Building. (See, Ms. Dillon’s Complaint, Exhibit B, ¶ 17-18; Chubb’s Complaint,

                Exhibit C, ¶15-16).

             c. As part of the Purchase Contract, McInerney agreed to construct the Building and unit

                consistent with and according to the specifications that were attached to the Purchase

                Contract. (See, Ms. Dillon’s Complaint, Exhibit B, ¶19; Chubb’s Complaint, Exhibit C,

                ¶17).

             d. Ms. Dillon closed on the purchase of her condominium unit on March 7, 2013, at

                which time, the roof decks at the Building were substantially installed but not yet

                completed. (See, Ms. Dillon’s Complaint, Exhibit B, ¶21; Chubb’s Complaint, Exhibit

                C, ¶18-19).

             e. McInerney and its subcontractors completed the construction of the Building and the

                roof decks shortly after the March 7, 2013 closing date. (See, Ms. Dillon’s Complaint,

                Exhibit B, ¶22; Chubb’s Complaint, Exhibit C, ¶20).

       23.      In the Underlying Lawsuits, Ms. Dillon and Chubb both generally allege the following

allegations regarding the discovery of certain construction defects at Ms. Dillon’s condominium unit:

             a. Approximately seven years after her condo unit purchase, Ms. Dillon noticed in July

                2020 an “abnormal softness” in portions of the south roof deck and observed sagging

                of the center portion of the roof deck, which she communicated to McInerney. (See,

                Ms. Dillon’s Complaint, Exhibit B, ¶24-25; Chubb’s Complaint, Exhibit C, ¶22-23).

             b. On or about July 24, 2020, McInerney’s carpentry subcontractor, KL Quality

                Construction, Inc. removed drywall from the ceiling of Dillon’s bedroom, which was


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                 below the sagging observed on the roof deck, and exposed extensive mold growth and

                 deterioration of the roof truss structure. (See, Ms. Dillon’s Complaint, Exhibit B, ¶25;

                 Chubb’s Complaint, Exhibit C, ¶25-26).

              c. Because of the severe deterioration and mold growth, Ms. Dillon was informed that

                 her condominium unit was uninhabitable and unsafe and, based on that information,

                 she vacated the unit. (See, Ms. Dillon’s Complaint, Exhibit B, ¶25; Chubb’s Complaint,

                 Exhibit C, ¶27-28).

        24.      In the Underlying Lawsuits, Ms. Dillon and Chubb both allege that the damage to the

roof truss structure “was caused by inadequate ventilation and improper insulation in and around the

Truss Cavity” which deviated from the engineering drawings for the Building. (See, Ms. Dillon’s

Complaint, Exhibit B, ¶28; Chubb’s Complaint, Exhibit C, ¶31).

        25.      Ms. Dillon and Chubb both allege the following specific deviations regarding the roof

truss structure: the engineering drawings called for the installation of 11 dryer vents for roof

ventilation, whereas no such vents were installed: and the engineering drawings called for installation

of R-30 batten fiberglass insulation, whereas blown-in cellulose insulation was installed. (See, Ms.

Dillon’s Complaint, Exhibit B, ¶28-29; Chubb’s Complaint, Exhibit C, ¶32-34).

        26.      Ms. Dillon and Chubb both allege that the construction deviations allowed moist air

to remain and created condensation in the Truss Cavity, which caused deterioration to the roof trusses

and caused the accumulation of mold. (See, Ms. Dillon’s Complaint, Exhibit B, ¶30; Chubb’s

Complaint, Exhibit C, ¶35).

        27.      Ms. Dillon alleges in her Complaint that the above construction defects have caused

damage to her condominium unit, damages to her personal property inside that unit and a diminution

in the value of her unit. (See, Ms. Dillon’s Complaint, Exhibit B, ¶30, 36.b, 36.c, and 36.d).




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         28.   Ms. Dillon also alleges in her Complaint that she has been exposed to mold as a result

of the building defects and that exposure caused her bodily injuries which required her to seek a

medical diagnosis and treatment beginning in July 2020. (See, Ms. Dillon’s Complaint, Exhibit B, ¶30-

31).

         29.   Chubb alleges in its Complaint that it made certain payments to Ms. Dillon for repairs

to her condominium unit and replacement of certain personal property located in her condominium

unit pursuant to Chubb’s first party property policy #1401930401. (See, Chubb’s Complaint, Exhibit

C, ¶3, 41, 44). Chubb further alleges in its Complaint that it is subrogated to Ms. Dillon’s rights to

pursue McInerney Because of Chubb’s payments. (See, Chubb’s Complaint, Exhibit C, ¶45).

         30.   McInerney forwarded Ms. Dillon’s Complaint and Chubb’s Complaint to Scottsdale

with a request that Scottsdale defend and indemnify McInerney for the claims asserted by Ms. Dillon

and Chubb in the Underlying Lawsuits.

         31.   Through written correspondence Scottsdale has denied any obligation to defend or

indemnify McInerney in relation to the claims asserted by Ms. Dillon and Chubb in the Underlying

Lawsuits.

         32.   Based on information and belief, the law firm of Keefe, Campbell, Biery & Associates

has been defending McInerney in the Underlying Lawsuits.

         33.   The Underlying Lawsuits both remain currently pending against McInerney.

         34.   Based on information and belief, Ms. Dillon’s Lawsuit is subject to a stay order that

was entered in that case on or about November 19, 2021.

                         COUNT I – DECLARATORY JUDGMENT
                          NO DUTY TO DEFEND McINERNEY
                                NO “OCCURRENCE”

         35.   Scottsdale incorporates by reference paragraphs 1-34 above as if fully stated herein.




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       36.      The allegations in the Underlying Lawsuits do not allege an “occurrence” as that term

is set forth in the Insuring Agreement (quoted above in Paragraph 13) and as that term is defined in

Scottsdale’s policies (quoted above in Paragraph 15).

       37.      Instead, the allegations in the Underlying Lawsuits allege damage to Ms. Dillon’s

condominium unit, as well as damage to her personal property inside that unit, that is the natural,

ordinary and expected consequence of McInerney’s alleged construction defects.

       38.      Because the Underlying Lawsuits do not allege an “occurrence”, the Insuring

Agreement in Coverage A of the Commercial General Liability Coverage Form CG 00 01 04 13

present in each and every Scottsdale Policy is not satisfied. Therefore, Scottsdale does not have an

obligation to defend McInerney for the claims asserted against McInerney in the Underlying Lawsuits.

                          COUNT II – DECLARATORY JUDGMENT
                           NO DUTY TO DEFEND McINERNEY
                              COVERAGE A EXCLUSIONS

       39.      Scottsdale incorporates by reference paragraphs 1-38 above as if fully stated herein.

       40.      To the extent that the Underlying Lawsuits may allege an “occurrence”, the following

exclusions in the Commercial General Liability Coverage Form CG 00 01 04 13 present in each and

every Scottsdale Policy (quoted above in Paragraph 14) apply to bar coverage:

             a. Exclusion a. Expected or Intended Injury - because property damage and mold growth

             is the natural, ordinary and expected consequence of negligent construction work.

             b. Exclusion b. Contractual Liability – because Ms. Dillon and Chubb have alleged that

             McInerney breached contractual obligations and warranties in its deficient construction.

             c. Exclusion k. Damage to Your Product – because Ms. Dillon’s condominium unit was

             McInerney’s “product” that McInerney sold to Ms. Dillon.

             d. Exclusion l. Damage to Your Work – because the Building and Ms. Dillon’s

             condominium unit was constructed by McInerney.


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       41.     One or more of the above exclusions found in Coverage A of the Commercial General

Liability Coverage Form CG 00 01 04 13 apply to preclude coverage under each and every Scottsdale

Policy. Therefore, Scottsdale does not have an obligation to defend McInerney for the claims asserted

against McInerney in the Underlying Lawsuits.

                 COUNT III – DECLARATORY JUDGMENT
                   NO DUTY TO DEFEND McINERNEY
       CONTINUING OR ONGOING DAMAGE EXCLUSION ENDORSEMENT

       42.     Scottsdale incorporates by reference paragraphs 1-41 above as if fully stated herein.

       43.     To the extent that the Underlying Lawsuits may allege an “occurrence”, coverage for

which is not otherwise excluded by the exclusions in the Commercial General Liability Coverage Form

CG 00 01 04 13, coverage is nevertheless excluded by operation of the CONTINUING OR

ONGOING DAMAGE EXCLUSION (GLS-281s (9-07)), which is present in all of Scottsdale’s

Policies (quoted above in Paragraph 17).

       44.     The endorsement excludes any progressive or continuously occurring property

damage which begins prior to the policy period.

       45.     McInerney’s construction of the Building and Ms. Dillon’s condominium unit was

completed in 2013 following Dillon’s closing on her unit.

       46.     Ms. Dillon and Chubb both allege that the construction defects continuously caused

ongoing moist air, condensation and deterioration of the roof trusses from the time of those defects

during construction in 2013 until their discovery in July 2020.

       47.     Scottsdale’s first policy period began in May 2015, two years after the construction of

the Building and Ms. Dillon’s condominium unit in 2013, and well after deterioration of the roof

trusses had already begun.




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          48.   Because this endorsement applies to preclude coverage in each and all of Scottsdale’s

Policies, Scottsdale does not have an obligation to defend McInerney for the claims asserted against

McInerney in the Underlying Lawsuits.

                     COUNT IV – DECLARATORY JUDGMENT
                        NO DUTY TO DEFEND McINERNEY
                 FUNGI OR BACTERIAL EXCLUSION ENDORSEMENT

          49.   Scottsdale incorporates by reference paragraphs 1-48 above as if fully stated herein.

          50.   To the extent that the Underlying Lawsuits may allege an “occurrence”, coverage for

which is not otherwise excluded by the exclusions in the Commercial General Liability Coverage Form

CG 00 01 04 13, coverage is nevertheless excluded by operation of the FUNGI OR BACTERIAL

EXCLUSION (CG 21 67 12 04) which is present in each and every Scottsdale Policy (quoted above

in Paragraph 16).

          51.   This endorsement precludes coverage for “bodily injury” and/or “property damage”

involving the presence of mold in a building, regardless of whether there were any other concurrent

causes.

          52.   Both Ms. Dillon and Chubb allege that the construction defects caused mold growth

which contributed to the deterioration of the truss structures.

          53.   Ms. Dillon further alleges that she suffered bodily injury due to her exposure to the

mold growth.

          54.   Because this endorsement applies to preclude coverage under each and every

Scottsdale Policy, Scottsdale does not have an obligation to defend McInerney for the claims asserted

against McInerney in the Underlying Lawsuits.

                  COUNT V – DECLARATORY JUDGMENT
                   NO DUTY TO DEFEND McINERNEY
     EXCLUSION – CONTRATORS AND SUBCONTRACTORS ENDORSEMENT

          55.   Scottsdale incorporates by reference paragraphs 1-54 above as if fully stated herein.


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       56.     To the extent that the Underlying Lawsuits may allege an “occurrence”, coverage for

which is not otherwise excluded by the exclusions in the Commercial General Liability Coverage Form

CG 00 01 04 13, coverage is nevertheless excluded by operation of the EXCLUSION –

CONTRACTORS AND SUBCONTRACTORS (GLS-100s (6-13) which is present in Scottsdale’s

2018-2019 Policy and the 2019-2020 Policy (quoted above in Paragraph 19).

       57.     This endorsement precludes coverage for “bodily injury” and/or “property damage”

arising out of or caused, in whole or in part, by operations performed by McInerney’s subcontractors.

       58.     Both Ms. Dillon and Chubb allege in the Underlying Complaints that the construction

defects at the Building were caused by operations performed by McInerney’s subcontractors.

       59.     Because this endorsement applies to preclude coverage under Scottsdale’s 2018-2019

Policy and the 2019-2020 Policy, Scottsdale does not have an obligation to defend McInerney under

those policies for the claims asserted against McInerney in the Underlying Lawsuits.

                        COUNT VI – DECLARATORY JUDGMENT
                        NO DUTY TO INDEMNIFY McINERNEY

       60.     Scottsdale incorporates by reference Paragraphs 1-59 above as if fully stated herein.

       61.     Counts I through V above set forth independent reasons why Scottsdale does not have

a duty to defend McInerney for the claims asserted against McInerney in the Underlying Lawsuits

       62.     Because Scottsdale has no duty to defend McInerney for the claims asserted against

McInerney in the Underlying Lawsuits under any of the Scottsdale Policies, Scottsdale necessarily has

no duty to indemnify McInerney for any judgment entered in or settlement reached in the Underlying

Lawsuits.

                      COUNT VII – DECLARATORY JUDGMENT
                        PLEADING IN THE ALTERNATIVE
                  SCOTTSDALE IS EXCESS TO ANY OTHER INSURER

       63.     Scottsdale incorporates by reference Paragraphs 1-62 above as if fully stated herein.



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        64.     Pleading in the alternative to Counts I through VI above, to the extent that the

Underlying Lawsuits may allege an “occurrence” coverage for which is not otherwise excluded by any

of the above exclusions, Scottsdale still does not have any current obligation to defend and/or

indemnify McInerney due to the operation of the AMENDEMENT TO OTHER INSURANCE

CONDITION ENDORSEMENT that is present in each and every Scottsdale policy (quoted above

in Paragraph 18).

        65.     This endorsement renders the coverage that might be provided by Scottsdale’s Policies

excess to any other valid and collectible insurance that is available to McInerney.

        66.     Based on information and belief, Pekin is currently defending McInerney in relation

to the claims asserted in Chubb’s Lawsuit and/or Ms. Dillon’s Lawsuit under a reservation of rights.

        67.     Pleading in the alternative to Count I through Count VI above, any coverage

potentially available under one or more of Scottsdale’s policies is excess over the valid and collectible

coverage that Pekin is providing to McInerney for the Underlying Lawsuits.



        WHEREFORE, Plaintiff, SCOTTSDALE INSURANCE COMPANY (“Scottsdale”),

respectfully requests this Court enter a declaratory judgment in its favor and against Defendants,

McINERNEY           BUILDERS,     INC.    (“McInerney”),     CHUBB      NATIONAL         INSURANCE

COMPANY a/s/o Caryl Dillon (“Chubb”) and CARYL DILLON (“Ms. Dillon”), declaring,

adjudging and decreeing as follows:

        A.      Scottsdale has no duty to defend McInerney under any of the Scottsdale Policies for

any of the claims asserted by Ms. Dillon and/or Chubb against McInerney in the Underlying Lawsuits;

        B.      Scottsdale has no duty to indemnify McInerney under any of the Scottsdale Policies

for any of the claims asserted by Ms. Dillon and/or Chubb against McInerney in the Underlying

Lawsuits;


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       C.      In the alternative, even if McInerney’s argument that Scottsdale owes any coverage is

accepted, any such coverage available under one or more of Scottsdale’s policies is excess over the

coverage that Pekin provides to McInerney for the Underlying Lawsuits, such that Scottsdale does not

have any current duty to defend or indemnify McInerney for any of the claims asserted by Ms. Dillon

and/or Chubb against McInerney in the Underlying Lawsuits.

       D.      Scottsdale is entitled to such other and further relief, including court costs, as this

District Court deems appropriate.



DATED: April 20, 2022                         Respectfully submitted,

                                              STONE & JOHNSON, CHTD


                                              By: /s/ Dawn M. Gonzalez______________
                                              Attorney for Scottsdale Insurance Company


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